           EXHIBIT F
Declaration of Professor Randolph Roth
                     DECLARATION OF RANDOLPH ROTH
     I, Randolph Roth, declare under penalty of perjury that the following is true
and correct:
      1.       I am an Arts and Sciences Distinguished Professor of History and
Sociology at The Ohio State University. I have personal knowledge of the facts set
forth in this declaration, and if called upon as a witness, I could and would testify
competently as to those facts.
      2.       I have been retained by the State of Connecticut to render expert
opinions in this case. I am being compensated at a rate of $250 per hour.
                    BACKGROUND AND QUALIFICATIONS
      3.       I received a B.A. in History with Honors and Distinction in 1973 from
Stanford University, where I received the James Birdsall Weter Prize for the
outstanding honors thesis in History. I received a Ph.D. in History in 1981 from
Yale University, where I received the Theron Rockwell Field Prize for the
outstanding dissertation in the humanities and the George Washington Eggleston
Prize for the outstanding dissertation in American history. I have taught courses in
history, the social sciences, and statistics since 1978, with a focus on criminology
and the history of crime. A true and correct copy of my curriculum vitae is
attached as Exhibit A to this declaration.
      4.       I am the author of American Homicide (The Belknap Press of the
Harvard University Press, 2009), which received the 2011 Michael J. Hindelang
Award from the American Society of Criminology awarded annually for the book
published over the three previous years that “makes the most outstanding
contribution to research in criminology over the previous three years,”1 and the

      1
        See American Society of Criminology, Michel J. Hindelang outstanding
Book Award Recipients, https://asc41.com/about-asc/awards/michael-j-hindelang-
outstanding-book-award-recipients/.

                                             1
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2010 Allan Sharlin Memorial Book Award from the Social Science History
Association for outstanding books in social science history.2 American Homicide
was also named one of the Outstanding Academic Books of 2010 by Choice, and
the outstanding book of 2009 by reason.com. The book is an interregional,
internationally comparative study of homicide in the United States from colonial
times to the present. I am a Fellow of the American Association for the
Advancement of Science, and I have served as a member of the National Academy
of Sciences Roundtable on Crime Trends, 2013-2016, and as a member of the
Editorial Board of the American Historical Review, the most influential journal in
the discipline. And in 2022 I received the inaugural Distinguished Scholar Award
from the Historical Criminology Division of the American Society of Criminology.
      5.     I am the principal investigator on the National Homicide Data
Improvement Project, a project funded by the National Science Foundation (SES-
1228406, https://www.nsf.gov/awardsearch/showAward?AWD_ID=1228406) and
the Harry Frank Guggenheim Foundation to improve the quality of homicide data
in the United States from 1959 to the present. The pilot project on Ohio has drawn
on a wide range of sources in its effort to create a comprehensive database on
homicides (including narratives of each incident) based on the mortality statistics
of the Ohio Department of Health, the confidential compressed mortality files of
the National Center for Health Statistics, the F.B.I.’s Supplementary Homicide
Reports, death certificates, coroner’s reports, the homicide case files of Cincinnati,
Cleveland, and Columbus, obituaries, and newspaper accounts.
      6.     I have published numerous essays on the history of violence and the
use of firearms in the United States, including a) “Guns, Gun Culture, and
Homicide: The Relationship between Firearms, the Uses of Firearms, and

      2
       See Social Science History Association, Allan Sharlin Memorial Book
Award, https://ssha.org/awards/sharlin_award/.

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Interpersonal Violence in Early America,” William and Mary Quarterly (2002) 59:
223-240 (https://www.jstor.org/stable/3491655#metadata_info_tab_contents); b)
“Counting Guns: What Social Science Historians Know and Could Learn about
Gun Ownership, Gun Culture, and Gun Violence in the United States,” Social
Science History (2002) 26: 699-708
(https://www.jstor.org/stable/40267796#metadata_info_tab_contents); c) “Why
Guns Are and Aren’t the Problem: The Relationship between Guns and Homicide
in American History,” in Jennifer Tucker, Barton C. Hacker, and Margaret Vining,
eds., A Right to Bear Arms? The Contested Role of History in Contemporary
Debates on the Second Amendment (Washington, D.C.: Smithsonian Institution
Scholarly Press, 2019); and d) “The Opioid Epidemic and Homicide in the United
States,” co-authored with Richard Rosenfeld and Joel Wallman, in the Journal of
Research in Crime and Delinquency (2021)
(https://www.researchgate.net/publication/348513393_The_Opioid_Epidemic_and
_Homicide_in_the_United_States).
      7.     I am also co-founder and co-director of the Historical Violence
Database. The web address for the Historical Violence Database is:
http://cjrc.osu.edu/research/interdisciplinary/hvd. The historical data on which this
declaration draws are available through the Historical Violence Database. The
Historical Violence Database is a collaborative project by scholars in the United
States, Canada, and Europe to gather data on the history of violent crime and
violent death (homicides, suicides, accidents, and casualties of war) from medieval
times to the present. The project is described in Randolph Roth et al., “The
Historical Violence Database: A Collaborative Research Project on the History of
Violent Crime and Violent Death.” Historical Methods (2008) 41: 81-98
(https://www.tandfonline.com/doi/pdf/10.3200/HMTS.41.2.81-
98?casa_token=PfjkfMsciOwAAAAA:1HrNKToUGfQT4T-

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L4wqloRc2DFsM4eRmKEc346vchboaSh-X29CkEdqIe8bMoZjBNdk7yNh_aAU).
The only way to obtain reliable historical homicide estimates is to review every
scrap of paper on criminal matters in every courthouse (indictments, docket books,
case files, and judicial proceedings), every jail roll and coroner’s report, every
diary and memoir, every article in every issue of a number of local newspapers,
every entry in the vital records, and every local history based on lost sources, local
tradition, or oral testimony. That is why it takes months to study a single rural
county, and years to study a single city.3
      8.    My work on data collection and my research for American Homicide,

together with the research I have conducted for related essays, has helped me gain



3
  It is also essential, in the opinion of historians and historical social scientists
involved in the Historical Violence Database, to use capture-recapture
mathematics, when multiple sources are available, to estimate the number of
homicides where gaps or omissions exist in the historical record. The method
estimates the percentage of the likely number of homicides that appear in the
surviving records by looking at the degree to which homicides reported in the
surviving legal sources overlap with homicides reported in the surviving non-legal
sources (newspapers, vital records, diaries, etc.). A greater degree of overlap
means a higher percentage in the surviving records and a tighter confidence
interval. A lesser degree of overlap, which typically occurs on contested frontiers
and during civil wars and revolutions, means a lower percentage and a wider
confidence interval. See Randolph Roth, “American Homicide Supplemental
Volume: Homicide Estimates” (2009)
(https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Homicide-Estimates.pdf); Roth,
"Child Murder in New England," Social Science History (2001) 25: 101-147
(https://www.jstor.org/stable/1171584#metadata_info_tab_contents); Roth and
James M. Denham, “Homicide in Florida, 1821-1861: A Quantitative Analysis,”
Florida Historical Quarterly 86 (2007): 216-239; and Douglas L. Eckberg,
"Stalking the Elusive Homicide: A Capture-Recapture Approach to the Estimation
of Post-Reconstruction South Carolina Killings." Social Science History 25 (2001):
67-91 (https://www.jstor.org/stable/1171582#metadata_info_tab_contents).


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expertise on the causes of homicide and mass violence, and on the role technology

has played in changing the nature and incidence of homicide and mass violence. I

hasten to add that the insights that my colleagues and I have gained as social

science historians into the causes of violence and the history of violence in the

United States stem from our tireless commitment to empiricism. Our goal is to

gather accurate data on the character and incidence of violent crimes and to follow

the evidence wherever it leads, even when it forces us to accept the fact that a

hypothesis we thought might be true proved false. As my colleagues and I are

fond of saying in the Criminal Justice Network of the Social Science History

Association, the goal is not to be right, but to get it right. That is the only way to

design effective, pragmatic, nonideological laws and public policies that can help

us address our nation’s problem of violence.

      9.     I have previously served as an expert witness in cases concerning the

constitutionality of state and municipal gun laws, including Miller v. Bonta, No.

3:19-cv-1537 (S.D. Cal.); Duncan v. Bonta, No. 3:17-cv-1017 (S.D. Cal.); Ocean

State Tactical v. Rhode Island, No. 22-cv-246 (D.R.I.); Hanson v. District of

Columbia, No. 1:22-cv02256-RC (D.C.); State of Vermont v. Max B. Misch;

National Association for Gun Rights and Capen v. Healey, No. 22-cv-11431-FDS

(D.MA.); National Association for Gun Rights, and Susan Karen Goldman v. City

of Highland Park, Illinois, No. 1:22-cv-04774 (N.D. Ill. Eastern Division); and


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Steven Rupp et al. and California Rifle and Pistol Association v. Bonta, 8:17-cv-

00746-JLS-JDE (CA. Central District Western Division).

                                 OPINIONS


I.   SUMMARY OF OPINIONS
      10.    I have been asked by the State of Connecticut Office of the Attorney
General to provide opinions on the history of homicides and mass murders in the
United States, with special attention to the role that technologies have played in
shaping the character and incidence of homicides and mass murders over time, and
the historical restrictions that local and federal authorities have imposed in
response to new technologies that they deemed particularly lethal, prone to misuse,
and a danger to the public because of the ways in which they reshaped the
character and incidence of homicides and mass murders.
      11.    For the past thirty-five years, I have dedicated my career to
understanding why homicide rates rise and fall over time, in hopes of
understanding why the United States—which, apart from the slave South, was
perhaps the least homicidal society in the Western world in the early nineteenth
century—became by far the most homicidal, as it remains today. I discovered that
the key to low homicide rates over the past 450 years has been successful nation-
building. High homicide rates among unrelated adults—friends, acquaintances,
strangers—coincide with political instability, a loss of trust in government and
political leaders, a loss of fellow feeling among citizens, and a lack of faith in the
justice of the social hierarchy.4 As a nation, we are still feeling the aftershocks of

4
 See Randolph Roth, “Measuring Feelings and Beliefs that May Facilitate (or
Deter) Homicide,” Homicide Studies (2012) 16: 196-217
(https://journals.sagepub.com/doi/pdf/10.1177/1088767912442501?casa_token=dk
                                                                 (continued…)
                                           6
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our catastrophic failure at nation-building in the mid- and late-nineteenth century,
from the political crisis of the late 1840s and 1850s through the Civil War,
Reconstruction, and the rise of Jim Crow.
      12.    Our nation’s homicide rate would thus be high today even in the
absence of modern technologies that have made firearms far more capable of
injuring multiple people over a short span of time than they were in colonial and
Revolutionary era. But the evidence also shows that the availability of guns and
changes in firearms technology, especially the emergence of modern breech-
loading firearms in the mid-nineteenth century, and of rapid-fire semiautomatic
weapons and extended magazines in the late twentieth century, have pushed the
homicide rate in United States well beyond what it would otherwise have been.
      13.    My opinion will address in turn: 1) firearms restrictions on colonists
from the end of the seventeenth century to the eve of the Revolution, when
homicide rates were low among colonists and firearms were seldom used in
homicides among colonists when they did occur; 2) the development during the
Founding and Early National periods of laws restricting the use or ownership of
concealable weapons in slave and frontier states, where homicide rates among
persons of European ancestry soared after the Revolution in large part because of
the increased manufacture and ownership of concealable percussion cap pistols and
fighting knives; 3) the spread of restrictions on carrying concealed weapons in

P_nZZxCaYAAAAA:vL522E2inh9U2gr4X2qAhPnqRminWEjLv8nbwrNEhqNpR
liTesFI_1SDY6tepvZbjwiRWPEom7M), for an introduction to the ways that social
science historians can measure the feelings and beliefs that lead to successful
nation-building. My research has shown that those measures have gone up and
down with homicide rates among unrelated adults in the United States from
colonial times to the present. In social science history, as in the non-experimental
historical sciences (geology, paleontology, evolutionary biology), correlations that
persist across wide stretches of time and space are not random. They reveal deep
patterns that are causal.

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every state by World War I, as homicide rates rose across the nation, beginning
around the time of the Mexican War of 1846-1848 and lasting until World War I—
a rise caused in part by the invention of modern revolvers, which were used in a
majority of homicides by the late nineteenth century; 4) the difficulty that local and
federal officials faced from the colonial era into the early twentieth century in
addressing the threat of mass murders, which, because of the limitations of existing
technologies, were carried out by large groups of individuals acting in concert,
rather than by individuals or small groups; and 5) the spread of restrictions in the
twentieth and early twenty-first centuries on new technologies, including rapid-fire
firearms and large capacity magazines, that changed the character of mass murder,
by enabling individuals or small groups to commit mass murder.
II.   GOVERNMENT REGULATION OF FIREARMS IN RESPONSE TO HOMICIDE
      TRENDS
      A.     Homicide and Firearms in the Colonial Era (1688-1763)

       14.     In the eighteenth century, the use and ownership of firearms by Native
Americans and African Americans, enslaved and free, were heavily regulated.5
But laws restricting the use or ownership of firearms by colonists of European
ancestry were rare, for two reasons. First, homicide rates were low among
colonists from the Glorious Revolution of 1688-1689 through the French and
Indian War of 1754-1763, thanks to political stability, a surge in patriotic fellow
feeling within the British empire, and greater trust in government.6 By the late

       Clayton E. Cramer, “Colonial Firearms Regulation” (April 6, 2016).
       5

Available at SSRN: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2759961.
       6
        Randolph Roth, American Homicide (Cambridge: The Belknap Press of
Harvard University Press, 2009), 63, noting that “Fear of Indians and slaves, hatred
of the French, enthusiasm for the new colonial and imperial governments
established by the Glorious Revolution, and patriotic devotion to England drew
colonists together. The late seventeenth century thus marks the discernible
                                                                      (continued…)
                                            8
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1750s and early 1760s, the rates at which adult colonists were killed were roughly
5 per 100,000 adults per year in Tidewater Virginia, 3 per 100,000 in
Pennsylvania, and 1 per 100,000 in New England.7 Violence among colonists was
not a pressing problem on the eve of the Revolution.
      15.    Second, the impact of firearms on the homicide rate was modest, even
though household ownership of firearms was widespread. Approximately 50 to 60
percent of households in the colonial and Founding eras owned a working firearm,
usually a musket or a fowling piece.8 Fowling pieces, like muskets, were muzzle-
loading. But unlike muskets, which were heavy, single-shot firearms used for
militia service, fowling pieces were manufactured specifically to hunt birds and
control vermin, so they were designed to fire shot, primarily, rather than ball, and
were of lighter construction than muskets.9 Family, household, and intimate partner
homicides were rare, and only 10 to 15 percent of those homicides were committed
with guns. In New England, the rate of family and intimate partner homicides
stood at only 2 per million persons per year for European Americans and 3 per

beginning of the centuries-long pattern linking homicide rates in America with
political stability, racial, religious, and national solidarity, and faith in government
and political leaders.”
      7
         Roth, American Homicide, 61-63, and especially the graphs on 38, 39, and
91. By way of comparison, the average homicide rate for adults in the United
States from 1999 through 2016—an era in which the quality of emergency services
and wound care was vastly superior to that in the colonial era—was 7 per 100,000
per year. See CDC Wonder Compressed Mortality Files, ICD-10
(https://wonder.cdc.gov/cmf-icd10.html, accessed September 8, 2022).
      8
       Randolph Roth, “Why Guns Are and Aren’t the Problem: The Relationship
between Guns and Homicide in American History,” in Jennifer Tucker, Barton C.
Hacker, and Margaret Vining, eds., Firearms and the Common Law: History and
Memory (Washington, D.C.: Smithsonian Institution Scholarly Press, 2019), 116.
     9
       See, e.g., Kevin M. Sweeney, “Firearms, Militias, and the Second
Amendment,” in Saul A. Cornell and Nathan Kozuskanich, eds., The Second
Amendment on Trial: Critical Essays on District of Columbia v. Heller (University
of Massachusetts Press, 2013), 310, 327 & nn. 101-102.
                                            9
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million for African Americans for the seventeenth and most of the eighteenth
century, and fell to 1 per million for both European and African Americans after
the Revolution. The rates in the Chesapeake were likewise low, at 8 per million
per year for European Americans and 4 to 5 per million for African Americans.10
And because the homicide rate among unrelated adults was low, the proportion of
nondomestic homicides committed with guns was similarly low—never more than
10 to 15 percent.11
      16.      Firearm use in homicides was generally rare because muzzle-loading
firearms, such as muskets and fowling pieces, had significant limitations as murder
weapons in the colonial era.12 They were lethal and accurate enough at short range,
but they were liable to misfire, given the limits of flintlock technology; and with
the exception of a few double-barreled pistols, they could not fire multiple shots
without reloading.13 They could be used effectively to threaten and intimidate, but
once they were fired (or misfired), they lost their advantage: they could only be
used as clubs in hand-to-hand combat. They had to be reloaded manually to enable
the firing of another shot, which was a time-consuming process that required skill
and experience.14 And more important, muzzle-loading firearms could not be used
impulsively unless they were already loaded for some other purpose.15 It took at

      10
           Roth, “Why Guns Are and Aren’t the Problem,” 116.
      11
           Ibid., 116-119.
      12
           Ibid., 117.
      13
           Ibid.
      14
        Harold L. Peterson, Arms and Armor in Colonial America, 1526-1783
(New York: Bramhall House, 1956), 155-225; Priya Satia, Empire of Guns: The
Violent Making of the Industrial Revolution (New York: Penguin Press, 2018), 9-
10; and Satia, “Who Had Guns in Eighteenth Century Britain?” in Tucker, Hacker,
and Vining, Firearms and the Common Law, 41-44.
      15
           Roth, “Why Guns Are and Aren’t the Problem,” 117.

                                           10
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least half a minute (and plenty of elbow room) to load a muzzle-loader if the
weapon was clean and if powder, wadding, and shot or ball were at hand.16 The
user had to pour powder down the barrel, hold it in place with wadding, and drop
or ram the shot or ball onto the charge.17 The firing mechanism also had to be
readied, often with a fresh flint.18 And muzzle-loading guns were difficult to keep
loaded for any length of time, because black powder absorbed moisture and could
corrode the barrel or firing mechanism or make the charge liable to misfire.19 The
life of a charge could be extended by storing a gun in a warm, dry place, typically
over a fireplace, but even there, moisture from boiling pots, drying clothes, or
humid weather could do damage.20 That is why most owners stored their guns
empty, cleaned them regularly, and loaded them anew before every use.21
      17.      The infrequent use of guns in homicides in colonial America reflected
these limitations. Family and household homicides—most of which were caused
by abuse or fights between family members that got out of control—were
committed almost exclusively with hands and feet or weapons that were close to
hand: whips, sticks, hoes, shovels, axes, or knives.22 It did not matter whether the
type of homicide was rare—like family and intimate homicides—or common, like
murders of servants, slaves, or owners committed during the heyday of indentured



      16
           Ibid.
      17
           Ibid.
      18
           Ibid.
      19
           Ibid.
      20
           Ibid.
       Ibid.; and Herschel C. Logan, Cartridges: A Pictorial Digest of Small
      21

Arms Ammunition (New York: Bonanza Books, 1959), 11-40, 180-183.
      22
           Roth, “Why Guns Are and Aren’t the Problem,” 117.

                                           11
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servitude or the early years of racial slavery.23 Guns were not the weapons of
choice in homicides that grew out of the tensions of daily life.24
      18.      When colonists anticipated violence or during times of political
instability gun use was more common. When homicide rates were high among
unrelated adults in the early and mid-seventeenth century, colonists went armed to
political or interpersonal disputes,25 so the proportion of homicides committed with
firearms was at that time 40 percent and rose even higher in contested areas on the
frontier.26 Colonists also armed themselves when they anticipated hostile
encounters with Native Americans, so 60 percent of homicides of Native
Americans by European Americans in New England were committed with
firearms.27 And slave catchers and posses kept their firearms at the ready, so 90
percent of runaway slaves who were killed in Virginia were shot.28 Otherwise,
however, colonists seldom went about with loaded guns, except to hunt, control
vermin, or muster for militia training.29 That is why firearms had a modest impact
on homicide rates among colonists.




      23
           Ibid.
       Ibid. Contrary to popular belief, dueling was also rare in colonial
      24

America. Roth, American Homicide, 45, 158.
      25
           Roth, “Why Guns Are and Aren’t the Problem,” 118-119.
      26
           Ibid., 116-117.
      27
        Ibid., 118-119 (reporting that “In New England, 57 percent of such
homicides were committed with guns between the end of King Phillip’s War in
1676 and the end of the eighteenth century”).
      28
         Ibid., 118 (reporting that “Petitions to the Virginia House of Burgesses for
compensation for outlawed slaves who were killed during attempts to capture them
indicate that 90 percent were shot”).
      29
           Ibid., 118-119.

                                           12
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     B.      The Rise in Violence in the South and on Contested Frontiers
             during the Early National Period, the Role of New Technologies
             and Practices, and Regulations on Concealable Weapons
             (1790s-1840s)
       19.     The Founding Generation was zealous in its defense of the people’s
rights, and so enshrined them in the Constitution. At the same time, they
recognized that some citizens could be irresponsible or motivated by evil intent
and could thus threaten the security of the government and the safety of citizens.30
The threats that such citizens posed to public safety could be checked in most
instances by ordinary criminal statutes, drawn largely from British common law.
But at times those threats could be checked only by statutes that placed limits on
basic rights.31

       30
         On the fears of the Founders that their republic might collapse because
selfish or unscrupulous citizens might misuse their liberties, see Gordon S. Wood,
The Creation of the American Republic, 1776-1787 (Chapel Hill: University of
North Carolina Press, 1969), 65-70, 282-291, 319-328, 413-425, 463-467; Drew R.
McCoy, The Last of the Fathers: James Madison and the Republican Legacy (New
York: Cambridge University Press, 1989), 42-45; and Andrew S. Trees, The
Founding Fathers and the Politics of Character (Princeton: Princeton University
Press, 2003), 6-9, 60-65, 86-104, 113-114.
       31
          On the Founders’ belief that rights might have to be restricted in certain
instances, see Terri Diane Halperin, The Alien and Sedition Acts: Testing the
Constitution (Baltimore: Johns Hopkins University Press, 2016), 1-8, on restraints
on freedom of speech and the press during the administration of John Adams;
Leonard Levy, Jefferson and Civil Liberties: The Darker Side (Cambridge: The
Belknap Press of Harvard University Press, 1963), 93-141, on loosening
restrictions on searches and seizures during the administration of Thomas
Jefferson; and Patrick J. Charles, Armed in America: A History of Gun Rights from
Colonial Militias to Concealed Carry (New York: Prometheus Books, 2018), 70-
121, especially 108-109, as well as Saul Cornell, A Well-Regulated Militia: The
Founding Fathers and the Origins of Gun Control in America (New York: Oxford
University Press, 2006), 39-70, and Jack N. Rakove, “The Second Amendment:
The Highest State of Originalism,” in Carl T. Bogus, ed., The Second Amendment
in Law and History: Historians and Constitutional Scholars on the Right to Bear
Arms (New York: The New Press, 2000), 74-116, on the limited scope of the
                                                                        (continued…)
                                           13
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      20.     The Founders were aware that the rate at which civilians killed each
other or were killed by roving bands of Tories or Patriots rose during the
Revolution.32 And they recognized that more civilians, expecting trouble with
neighbors, public officials, and partisans, were likely to go about armed during the
Revolution, which is why the proportion of homicides of European Americans by
unrelated adults rose to 33 percent in Virginia and 46 percent in New England.33
But the surge in violence ended in New England, the Mid-Atlantic states, and the
settled Midwest once the Revolutionary crisis was over. In those areas homicide

Second Amendment. Jack N. Rakove, Original Meanings: Politics and Ideas in the
Making of the Constitution (New York: Alfred A. Knopf, 1996), 291, notes that
“Nearly all the activities that constituted the realms of life, liberty, property, and
religion were subject to regulation by the state; no obvious landmarks marked the
boundaries beyond which its authority could not intrude, if its actions met the
requirements of law.” See also Rakove, “The Second Amendment: The Highest
State of Originalism,” Chicago-Kent Law Review 76 (2000), 157
(https://scholarship.kentlaw.iit.edu/cgi/viewcontent.cgi?referer=&httpsredir=1&art
icle=3289&context=cklawreview): “[At] the time when the Second Amendment
was adopted, it was still possible to conceive of statements of rights in quite
different terms, as assertions or confirmations of vital principles, rather than the
codification of legally enforceable restrictions or commands.”
      32
        Roth, American Homicide, 145-149; Holger Hoock, Scars of
Independence: America’s Violent Birth (New York: Broadway Books / Penguin
Random House, 2017), 308-322; Alan Taylor, Divided Ground: Indians, Settlers,
and the Northern Borderland of the American Revolution (New York: Knopf,
2006), 91-102; George C. Daughan, Revolution on the Hudson: New York City and
the Hudson River Valley in the American War for Independence (New York: W. W.
Norton, 2016), 137-138; John B. Frantz and William Pencak, eds., Beyond
Philadelphia: The American Revolution in the Pennsylvania Hinterland
(University Park: Pennsylvania State University Press, 1998), 42-43, 141-145, 149-
152; Francis S. Fox, Sweet Land of Liberty: the Ordeal of the American Revolution
in Northampton County, Pennsylvania (University Park: Pennsylvania State
University Press, 2000), 25-27, 32, 64-65, 91-92, 114; and Fox Butterfield, All
God’s Children: The Bosket Family and the American Tradition of Violence (New
York: Vintage, 1996), 3-18.
      33
           Roth, “Why Guns Are and Aren’t the Problem,” 119-120.

                                           14
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rates fell to levels in some instances even lower than those which had prevailed in
the early and mid-eighteenth century. By the 1820s, rates had fallen to 3 per
100,000 adults per year in Cleveland and Philadelphia, to 2 per 100,000 in rural
Ohio, and to 0.5 per 100,000 in northern New England. Only New York City
stood out, at 6 per 100,000 adults per year.34 And the proportion of domestic and
nondomestic homicides committed with firearms was correspondingly low—
between 0 and 10 percent—because people once again generally refrained, as they
had from the Glorious Revolution through the French and Indian War, from going
about armed, except to hunt, control vermin, or serve in the militia.35
      21.      The keys to these low homicide rates and low rates of gun violence in
New England, the Mid-Atlantic states, and the settled Midwest were successful
nation-building and the degree to which the promise of the democratic revolution
was realized. Political stability returned, as did faith in government and a strong
sense of patriotic fellow feeling, as the franchise was extended and political
participation increased.36 And self-employment—the bedrock of citizenship, self-
respect, and respect from others—was widespread. By 1815, roughly 80 percent of
women and men owned their own homes and shops or farms by their mid-thirties;
and those who did not were often white-collar professionals who also received
respect from their peers.37 African Americans still faced discrimination and limits

      34
        Roth, American Homicide, 180, 183-186; and Eric H. Monkkonen,
Murder in New York City (Berkeley: University of California Press, 2001), 15-16.
      35
          For detailed figures and tables on weapons use in homicides by state, city,
or county, see Roth, “American Homicide Supplemental Volume: Weapons,”
available through the Historical Violence Database, sponsored by the Criminal
Justice Research Center at the Ohio State University
(https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Weapons-10-2009.pdf). On
weapons use in homicides in the North, see Figures 25 through 46.
      36
           Roth, American Homicide, 180, 183-186.
      37
           Ibid., 180, 183-186.

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             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
on their basic rights in most Northern states. But despite these barriers, most
African Americans in the North were optimistic, after slavery was abolished in the
North, about earning their own living and forming their own churches and
voluntary organizations.38
      22.    That is why there was little interest among public officials in the
North in restricting the use of firearms during the Early National period, except in
duels. They took a strong stand against dueling in the wake of Alexander
Hamilton’s death, because of the threat the practice posed for the nation’s
democratic polity and the lives of public men: editors, attorneys, military officers,
and politicians.39
      23.    Laws restricting the everyday use of firearms did appear, however, in
the early national period in a number of slave states,40 where violence among
citizens increased after the Revolution to extremely high levels. Revolutionary
ideas and aspirations wreaked havoc on the status hierarchy of the slave South,


      38
         Ibid., 181-182, 195-196; Leon F. Litwack, North of Slavery: The Negro in
the Free States, 1790-1860 (Chicago: University of Chicago Press, 1961); Joanne
Pope Melish, Disowning Slavery: Gradual Emancipation and “Race” in New
England, 1780-1860 (Ithaca: Cornell University Press, 1998); Sean White,
Somewhat More Independent: The End of Slavery in New York City, 1780-1810
(Athens: University of Georgia Press, 1991); and Graham R. Hodges, Root and
Branch: African Americans in New York and East Jersey, 1613-1863 (Chapel Hill:
University of North Carolina Press, 1999).
      39
          Joanne B. Freeman, Affairs of Honor: National Politics in the New
Republic (New Haven: Yale University Press, 2001); and C. A. Harwell, “The End
of the Affair? Anti-Dueling Laws and Social Norms in Antebellum America,”
Vanderbilt Law Review 54 (2001): 1805-1847
(https://scholarship.law.vanderbilt.edu/cgi/viewcontent.cgi?article=1884&context=
vlr).
      40
        Clayton E. Cramer, Concealed Weapons Laws of the Early Republic:
Dueling, Southern Violence, and Moral Reform (Westport, Connecticut: Praeger,
1999); and Cornell, Well-Regulated Militia, 141-144.

                                          16
            Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
where homicide rates ranged from 8 to 28 per 100,000 adults per year.41 Poor and
middle-class whites were increasingly frustrated by their inability to rise in a
society that remained class-bound and hierarchical.42 Prominent whites were
subjected to the rough and tumble of partisan politics and their position in society
was threatened by people from lower social positions.43 African Americans
despaired over the failure of the abolition movement in the South, and whites were
more fearful than ever of African American rebellion.44 As a result, impatience
with restraint and sensitivity to insult were more intense in the slave South, and
during this period the region saw a dramatic increase in the number of deadly
quarrels, property disputes, duels, and interracial killings.45 The violence spread to
frontier Florida and Texas, as well as to southern Illinois and Indiana—wherever
Southerners settled in the early national period.46 During the Early National
period, the proportion of homicides committed with firearms went up accordingly,
to a third or two-fifths, as Southerners armed themselves in anticipation of trouble,
or set out to cause trouble.47
      24.      Citizens and public officials in these states recognized that
concealable weapons—pistols, folding knives, dirk knives, and Bowie knives—
      41
           Roth, American Homicide, 180, 199-203.
      42
           Ibid., 182.
      43
           Ibid.
      44
           Ibid.
      45
           Ibid., 182, 199-203.
      46
         Ibid., 162, 180-183, 199-203; Roth and James M. Denham, “Homicide in
Florida, 1821-1861,” Florida Historical Quarterly 86 (2007): 216-239; John Hope
Franklin, The Militant South, 1800-1861 (Cambridge: Belknap Press of Harvard
University Press, 1961); and Bertram Wyatt-Brown, Southern Honor: Ethics and
Behavior in the Old South (New York: Oxford University Press, 1982).
      47
        Roth, “American Homicide Supplemental Volume: Weapons,” Figures 51
through 57.

                                            17
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
were used in an alarming proportion of the era’s murders and serious assaults.48
They were used to ambush both ordinary citizens and political rivals, to bully or
intimidate law-abiding citizens, and to seize the advantage in fist fights. As the
Grand Jurors of Jasper County, Georgia, stated in a plea to the state legislature in
1834 for restrictions on concealable weapons,

     The practice which is common amongst us with the young the middle
     aged and the aged to arm themselves with Pistols, dirks knives sticks &
     spears under the specious pretence of protecting themselves against
     insult, when in fact being so armed they frequently insult others with
     impunity, or if resistance is made the pistol dirk or club is immediately
     resorted to, hence we so often hear of the stabbing shooting & murdering
     so many of our citizens.49
The justices of the Louisiana Supreme Court echoed these sentiments—“unmanly”
men carried concealed weapons to gain “secret advantages” over their
adversaries.50 These concealed weapons laws were notably difficult to enforce,
however, and did not address underlying factors that contributed to rising homicide
rates. Nevertheless, these laws represent governmental efforts at that time to
address the use of new weapons in certain types of crime.
      25.     The pistols of the early national period represented a technological
advance. Percussion-lock mechanisms enabled users to extend the life of a charge,
because unlike flint-lock mechanisms, they did not use hydroscopic black powder
in their priming pans; they used a sealed mercury-fulminate cap as a primer and
seated it tightly on a small nipple (with an inner diameter the size of a medium
sewing needle) at the rear of the firing chamber, which restricted the flow of air
and moisture to the chamber. Percussion cap pistols, which replaced flint-lock

      48
           Roth, American Homicide, 218.
      49
        Ibid., 218-219. See also the concerns of the Grand Jurors of Wilkes
County, Georgia, Superior Court Minutes, July 1839 term.
      50
           Roth, American Homicide, 219.

                                           18
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
pistols in domestic markets by the mid-1820s, could thus be kept loaded and
carried around for longer periods without risk of corrosion.51 The new types of
knives available in this era also represented technological advances over ordinary
knives because they were designed expressly for fighting. Dirks and Bowie knives
had longer blades than ordinary knives, crossguards to protect the combatants’
hands, and clip points to make it easier to cut or stab opponents.52
      26.     The violence in the slave South and its borderlands, and the
technological advances that exacerbated it, led to the first prohibitions against
carrying certain concealable weapons, which appeared in Kentucky, Louisiana,
Indiana, Arkansas, Georgia, and Virginia between 1813 and 1838. These laws
differed from earlier laws that restricted access to arms by Native Americans or by
free or enslaved African Americans, because they applied broadly to everyone but
also applied more narrowly to certain types of weapons and to certain types of
conduct. Georgia’s 1837 law “against the unwarrantable and too prevalent use of
deadly weapons” was the most restrictive. It made it unlawful for merchants

     and any other person or persons whatsoever, to sell, or offer to sell, or to
     keep, or have about their person or elsewhere . . . Bowie, or any other
     kind of knives, manufactured or sold for the purpose of wearing, or
     carrying the same as arms of offence or defence, pistols, dirks, sword
     canes, spears, &c.

The sole exceptions were horseman’s pistols—large weapons that were difficult to
conceal and were favored by travelers. But the laws in the other five states were




      51
           Roth, “Why Guns Are and Aren’t the Problem,” 117.
      52
        Harold L. Peterson, American Knives: The First History and Collector’s
Guide (New York: Scribner, 1958), 25-70; and Peterson, Daggers and Fighting
Knives in the Western World, from the Stone Age till 1900 (New York: Walker,
1968), 67-80.

                                           19
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also strict: they forbid the carrying of concealable weapons in all circumstances.
Indiana made an exemption for travelers.53
      27.    Thus, during the lifetimes of Jefferson, Adams, Marshall, and
Madison, the Founding Generation passed laws in a number of states that restricted
the use or ownership of certain types of weapons after it became obvious that those
weapons, including certain fighting knives and percussion-cap pistols, were being
used in crime by people who carried them concealed on their persons and were
thus contributing to rising crime rates.54
      53
         Cramer, Concealed Weapons Laws, especially 143-152, for the texts of
those laws. Alabama and Tennessee prohibited the concealed carrying of fighting
knives, but not pistols. See also the Duke Center for Firearms Law, Repository of
Historical Gun Laws (https://firearmslaw.duke.edu/search-
results/?_sft_subjects=dangerous-or-unusual-weapons, accessed September 9,
2022). Note that the Georgia Supreme Court, in Nunn v. State, 1 Ga. 243 (1846),
held that prohibiting the concealed carry of certain weapons was valid, but that the
state could not also prohibit open carry, which would destroy the right to bear
arms. That decision put Georgia in line with the five other states that had
prohibited the carrying of concealable firearms.
      54
          Cramer, Concealed Weapons Laws, 69-96; Cramer, For the Defense of
Themselves and the State: The Original Intent and Judicial Interpretation of the
Right to Keep and Bear Arms (Westport, Connecticut: Praeger Publishers, 1994);
Don B. Kates, Jr., “Toward a History of Handgun Prohibition in the United States,”
in Cates, ed., Restricting Handguns: The Liberal Skeptics Speak Out (Croton-on-
Hudson, New York: North River Press, 1979), 7-30; and Philip D. Jordan, Frontier
Law and Order—10 Essays (Lincoln: University of Nebraska Press, 1970), 1-22.
Thomas Jefferson and John Adams died on July 4, 1826, John Marshall on July 6,
1835, and James Madison on July 28, 1836. On the history of firearms regulations
that pertained to African Americans, see Robert J. Cottrol and Raymond T.
Diamond, “The Second Amendment: Toward an Afro-Americanist
Reconsideration,” Georgetown Law Journal 80 (1991): 309-361
(https://digitalcommons.law.lsu.edu/cgi/viewcontent.cgi?referer=&httpsredir=1&ar
ticle=1283&context=faculty_scholarship); Cottrol and Diamond, “Public Safety
and the Right to Bear Arms” in David J. Bodenhamer and James W. Ely, Jr., eds.,
The Bill of Rights in Modern America, revised and expanded (Bloomington:
Indiana University Press, 2008), 88-107; and Cramer, For the Defense of
                                                                     (continued…)
                                             20
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     C.     Homicide, Concealable Weapons, and Concealable Weapons
            Regulations from the Mexican War through the Early
            Twentieth Century (1846-1920s)
      28.     By the early twentieth century, every state either banned concealed
firearms or placed severe restrictions on their possession.55 They did so in
response to two developments: the nationwide surge in homicide rates, from the
North and South to the Trans-Mississippi West; and the invention of new firearms,
especially the revolver, which enabled the firing of multiple rounds in succession
without reloading and made the homicide problem worse. Between the mid-
nineteenth and the early twentieth century homicide rates fell in nearly every
Western nation.56 But in the late 1840s and 1850s those rates exploded across the
United States and spiked even higher during the Civil War and Reconstruction, not
only in the South and the Southwest, where rates had already risen in the early
national period, but in the North. Rates that had ranged in the North in the 1830s
and early 1840s from a low of 1 per 100,000 adults per year in northern New
England to 6 per 100,000 in New York City, rose to between 2 and 33 per 100,000
in the northern countryside and to between 10 and 20 per 100,000 in northern
cities. In the South, rates in the plantation counties of Georgia rose from 10 per
100,000 adults to 25 per 100,000, and rates soared even higher in rural Louisiana

Themselves and the State, 74, 83-85, 97-140.
      55
         Kates, “Toward a History of Handgun Prohibition,” 7-30; and Jordan,
Frontier Law and Order, 17-22. These sources identify laws that either banned
concealed firearms or placed severe restrictions on their possession in every state
except Vermont. However, Vermont also had such a law by the early twentieth
century. See An Act Against Carrying Concealed Weapons, No. 85, § 1 (12th
Biennial Session, General Assembly of the State of Vermont, Nov. 19, 1892) (“A
person who shall carry a dangerous or deadly weapon, openly or concealed, with
the intent or avowed purpose of injuring a fellow man, shall, upon conviction
thereof, be punished by a fine not exceeding two hundred dollars, or by
imprisonment not exceeding two years, or both, in the discretion of the court.”).
      56
           Roth, American Homicide, 297-300.

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to 90 per 100,000 and in mountain communities in Georgia and Missouri from less
than 5 per 100,000 adults per year to 60 per 100,000. And in the West, the rates
reached 65 per 100,000 adults per year in California, 76 per 100,000 in Texas, 119
per 100,000 in mining towns in South Dakota, Nevada, and Montana, and 155 per
100,000 in cattle towns in Kansas. Americans, especially men, were more willing
to kill friends, acquaintances, and strangers. And so, the United States became—
and remains today—by far the most murderous affluent society in the world.57
      29.      The increase occurred because America’s heretofore largely
successful effort at nation-building failed catastrophically at mid-century.58 As the
country struggled through the wrenching and divisive changes of the mid-
nineteenth century—the crises over slavery and immigration, the decline in self-
employment, and rise of industrialized cities—the patriotic faith in government
that most Americans felt so strongly after the Revolution was undermined by anger
and distrust.59 Disillusioned by the course the nation was taking, people felt
increasingly alienated from both their government and their neighbors.60 They
were losing the sense that they were participating in a great adventure with their
fellow Americans.61 Instead, they were competing in a cutthroat economy and a
combative political system against millions of strangers whose interests and values


      57
         Ibid., 199, 297-300, 302, 337, 347; and Roth, Michael D. Maltz, and
Douglas L. Eckberg, “Homicide Rates in the Old West,” Western Historical
Quarterly 42 (2011): 173-195
(https://www.jstor.org/stable/westhistquar.42.2.0173#metadata_
info_tab_contents).
       Ibid., 299-302, 384-385; and Roth, “American Homicide: Theory,
      58

Methods, Body Counts,” Historical Methods 43 (2010): 185-192.
      59
        Roth, American Homicide, 299-302, 384-385. See also Roth, “Measuring
Feelings and Beliefs that May Facilitate (or Deter) Homicide.”
      60
           Roth, American Homicide, 300.
      61
           Ibid.

                                           22
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
were antithetical to their own.62 And most ominously, law and order broke down
in the wake of the hostile military occupation of the Southwest, the political crisis
of the 1850s, the Civil War, and Reconstruction.63
      30.      The proportion of homicides committed with firearms increased as
well from the Mexican War through Reconstruction, as it had during previous
increases in nondomestic homicides during the Revolution, in the
postrevolutionary South, and on contested frontiers.64 Because the pistols,
muskets, and rifles in use in the early years of the crisis of the mid-nineteenth
century were still predominantly single-shot, muzzle-loading, black powder
weapons, the proportion of homicides committed with guns stayed in the range of a
third to two-fifths, except on the frontier.65 Concealable fighting knives, together
with concealable percussion-cap pistols, remained the primary murder weapons.
But in time, new technologies added to the toll in lives, because of their lethality
and the new ways in which they could be used.
      31.      Samuel Colt’s cap-and-ball revolvers, invented in 1836, played a
limited role in the early years of the homicide crisis, but they gained popularity
quickly because of their association with frontiersmen, Indian fighters, Texas
Rangers, and cavalrymen in the Mexican War.66 They retained some of the
limitations of earlier firearms, because their rotating cylinders—two of which came
with each revolver—had to be loaded one chamber at a time. Users had to seat a
percussion cap on a nipple at the rear of each chamber, pour powder into each
      62
           Ibid.
      63
           Ibid., 299-302, 332, 337, 354.
      64
           Roth, “Why Guns Are and Aren’t the Problem,” 116-117.
      65
        Roth, “American Homicide Supplemental Volume: Weapons,” Figures 25
through 46, and 51 through 57.
       Patricia Haag, The Gunning of America: Business and the Making of
      66

American Gun Culture (New York: Basic Books, 2016).

                                            23
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chamber, secure the powder with wadding, and ram the bullet down the chamber
with a rod or an attached loading lever. Thus cap-and-ball revolvers, like muzzle-
loaders, could not be loaded quickly, nor could they be kept loaded indefinitely
without risk of damaging the charge or the gun. But they were deadlier than their
predecessors, because they made it possible for a person to fire five or six shots in
rapid succession and to reload quickly with the second cylinder.67
      32.      Smith and Wesson’s seven-shot, .22 caliber, breech-loading, Model 1
rimfire revolver, invented in 1857, appeared on the market when the homicide
crisis was already well underway. But it had none of the limitations of percussion-
cap pistols or cap-and-ball revolvers. It could be loaded quickly and easily
because it did not require powder, wadding, and shot for each round; and it could
be kept loaded indefinitely because its corrosive powder was encapsulated in the
bullet.68 And it did not require a new percussion cap for each chamber, because
the primer was located in a rim around the base of the bullet, set to ignite as soon
as it was hit by the hammer.69 As Smith and Wesson noted in its advertisements,

     Some of the advantages of an arm constructed on this plan are:
     The convenience and safety with which both the arm and ammunition
     may be carried;



      67
        Edward C. Ezell, Handguns of the World: Military Revolvers and Self-
Loaders from 1870 to 1945 (Harrisburg, Pennsylvania: Stackpole Books, 1981),
24-28; Julian S. Hatcher, Pistols and Revolvers and Their Use (Marshallton,
Delaware: Small-Arms Technical Publishing Company, 1927), 8-11; and Charles
T. Haven and Frank A. Belden, A History of the Colt Revolver and the Other Arms
Made by Colt’s Patent Fire Arms Manufacturing Company from 1836 to 1940
(New York: Bonanza Books, 1940), 17-43.
      68
        Roy G. Jinks, History of Smith and Wesson (North Hollywood: Beinfeld,
1977), 38-57.
      69
           Ibid., 38-57.

                                           24
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     The facility with which it may be charged, (it requiring no ramrod,
     powder-flask, or percussion caps);
     Certainty of fire in damp weather;

     That no injury is caused to the arm or ammunition by allowing it to
     remain charged any length of time.70


      33.      Smith and Wesson had created a near-perfect murder weapon. It was
lethal, reliable, easy to carry and conceal, capable of multiple shots, and ready to
use at any time.71 Its only drawbacks were its small caliber and low muzzle
velocity, which limited its ability to stop an armed or aggressive adversary on the
first shot, and the difficulty and danger of reloading. The reloading problem was
remedied by Colt’s development in 1889 of the first double-action commercial
revolver with a swing-out cylinder and Smith and Wesson’s addition in 1896 of an
ejector to push out spent cartridges.72

      34.      These new weapons were not the primary cause of the surge in

violence that occurred in the United States from the Mexican War through

Reconstruction. But they did contribute to the later stages of the crisis, as they

superseded knives and black powder handguns as the primary weapons used in

interpersonal assaults, not only because of their greater lethality, but because they


      70
           Ibid., 39.
      71
           Ibid., 38-57.
      72
        Rick Sapp, Standard Catalog of Colt Firearms (Cincinnati: F+W Media,
2011), 96; Jeff Kinard, Pistols: An Illustrated History of Their Impact (Santa
Barbara: ABC-CLIO, 2003), 163; and Jinks, History of Smith and Wesson, 104-
170.

                                           25
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were used in novel ways.73 Easily concealed, they became the weapons of choice

for men who stalked and ambushed estranged spouses or romantic partners, for

suspects who killed sheriffs, constables, or police officers, and for self-styled

toughs who engaged in shootouts in bars, streets, and even churchyards.74 And as

modern, breech-loading firearms replaced the muzzle-loading and cap-and-ball

gunstock from the late 1850s through World War I, the proportion of homicides

committed with firearms continued to climb even when homicide rates fell for a

short time, as they did at the end of Reconstruction. By the eve of World War I,

rates had fallen in the New England states to 1 to 4 per 100,000 adults per year, to

2 to 5 per 100,000 in the Prairie states, and 3 to 8 per 100,000 in the industrial

states. In the West, rates had fallen to 12 per 100,000 adults per year in California,

15 per 100,000 in Colorado, and approximately 20 to 30 per 100,000 in Arizona,

Nevada, and New Mexico. Homicide rates whipsawed, however, in the South.

They fell in the late 1870s and 1880s, only to rise in the 1890s and early twentieth

century, to just under 20 per 100,000 adults in Florida, Kentucky, Louisiana,



      73
          Roth, “Why Guns Are and Aren’t the Problem,” 124-126 (recognizing that
“Americans used the new firearms in ways they could never use muzzle-loading
guns [. . .] The ownership of modern breech-loading [firearms] made the homicide
rate worse in the United States than it would have been otherwise because it
facilitated the use of lethal violence in a wide variety of circumstances.”)
(emphasis added).
      74
           Ibid., 124-125.

                                           26
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
Missouri, and Tennessee, and 35 per 100,000 in Virginia and North Carolina.75

Ominously, too, firearms invaded families and intimate relationships, so relatives,

spouses, and lovers were as likely to be killed with guns as unrelated adults—

something that had never happened before in America’s history.76 That is why the

proportion of homicides committed with firearms—overwhelmingly, concealed

revolvers—reached today’s levels by the 1920s, ranging from a median of 56

percent in New England and over 70 percent in the South and West.77 And that is

why every state in the Union restricted the right to carrying certain concealable

weapons.

      35.      It is important to note that state legislators experimented with various

degrees of firearm regulation, as the nation became more and more violent. In

Texas, where the homicide rate soared to at least 76 per 100,000 adults per year

from June, 1865, to June, 1868,78 the legislature passed a time-place-manner

restriction bill in 1870 to prohibit the open or concealed carry of a wide range of


      75
        Ibid., 125-127, 388, 403-404; and Roth, “American Homicide
Supplemental Volume: American Homicides in the Twentieth Century,” Figures
4a and 5a.
      76
           Ibid., 125.
      77
        Roth, “American Homicide Supplemental Volume: Weapons,” Figures 2
through 7.
      78
         Roth, Michael D. Maltz, and Douglas L. Eckberg, “Homicide Rates in the
Old West,” Western Historical Quarterly 42 (2011): 192
(https://www.jstor.org/stable/westhistquar.42.2.0173#metadata_info_tab_contents).

                                            27
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weapons, including firearms, on social occasions;79 and it followed in 1871 with a

bill banning in most circumstances the carrying, open or concealed, of small

deadly weapons, including pistols, that were not designed for hunting or militia

service.80 These laws were enforced with little or no racial bias until the 1890s,


      79
          Brennan Gardner Rivas, “Enforcement of Public Carry Restrictions: Texas
as a Case Study,” UC Davis Law Review 55 (2021): 2609-2610
(https://lawreview.law.ucdavis.edu/issues/55/5/articles/files/55-5_Rivas.pdf). “Be
it enacted by the Legislature of the State of Texas, That if any person shall go into
any church or religious assembly, any school room or other place where persons
are assembled for educational, literary or scientific purposes, or into a ball room,
social party or other social gathering composed of ladies and gentlemen, or to any
election precinct on the day or days of any election, where any portion of the
people of this State are collected to vote at any election, or to any other place
where people may be assembled to muster or perform any other public duty, or any
other public assembly, and shall have about his person a bowie-knife, dirk or
butcher-knife, or fire-arms, whether known as a six-shooter, gun or pistol of any
kind, such person so offending shall be deemed guilty of a misdemeanor, and on
conviction thereof shall be fined in a sum not less than fifty or more than five
hundred dollars, at the discretion of the court or jury trying the same; provided,
that nothing contained in this section shall apply to locations subject to Indian
depredations; and provided further, that this act shall not apply to any person or
persons whose duty it is to bear arms on such occasions in discharge of duties
imposed by law.” An Act Regulating the Right to Keep and Bear Arms, 12th Leg.,
1st Called Sess., ch. XLVI, § 1, 1870 Tex. Gen. Laws 63. See also Brennan
Gardner Rivas, “The Deadly Weapon Laws of Texas: Regulating Guns, Knives,
and Knuckles in the Lone Star State, 1836-1930” (Ph.D. dissertation: Texas
Christian University, 2019) (https://repository.tcu.edu/handle/116099117/26778).
      80
         Rivas, “Enforcement of Public Carry Restrictions,” 2610-2611. Rivas,
quoting the law, says that “The first section stated, ‘That any person carrying on or
about his person, saddle, or in his saddle bags, any pistol, dirk, dagger, slung-shot,
sword-cane, spear, brass-knuckles, bowie knife, or any other kind of knife
manufactured or sold for the purposes of offense or defense, unless he has
reasonable grounds for fearing an unlawful attack on his person, and that such
ground of attack shall be immediate and pressing; or unless having or carrying the
                                                                        (continued…)
                                          28
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same on or about his person for the lawful defense of the State, as a militiaman in
actual service, or as a peace officer or policeman, shall be guilty of a misdemeanor,
and, on conviction thereof shall, for the first offense, be punished by fine of not
less than twenty-five nor more than one hundred dollars, and shall forfeit to the
county the weapon or weapons so found on or about his person; and for every
subsequent offense may, in addition to such fine and forfeiture, be imprisoned in
the county jail for a term not exceeding sixty days; and in every case of fine under
this section the fines imposed and collected shall go into the treasury of the county
in which they may have been imposed; provided that this section shall not be so
construed as to prohibit any person from keeping or bearing arms on his or her own
premises, or at his or her own place of business, nor to prohibit sheriffs or other
revenue officers, and other civil officers, from keeping or bearing arms while
engaged in the discharge of their official duties, nor to prohibit persons traveling in
the State from keeping or carrying arms with their baggage; provided, further, that
members of the Legislature shall not be included under the term “civil officers” as
used in this act.’ An Act to Regulate the Keeping and Bearing of Deadly
Weapons, 12th Leg. Reg. Sess., ch. XXXIV, § 1, 1871 Tex. Gen. Laws 25. The
third section of the act reads, ‘If any person shall go into any church or religious
assembly, any school room, or other place where persons are assembled for
amusement or for educational or scientific purposes, or into any circus, show, or
public exhibition of any kind, or into a ball room, social party, or social gathering,
or to any election precinct on the day or days of any election, where any portion of
the people of this State are collected to vote at any election, or to any other place
where people may be assembled to muster, or to perform any other public duty,
(except as may be required or permitted by law,) or to any other public assembly,
and shall have or carry about his person a pistol or other firearm, dirk, dagger,
slung shot, sword cane, spear, brass-knuckles, bowie-knife, or any other kind of
knife manufactured and sold for the purposes of offense and defense, unless an
officer of the peace, he shall be guilty of a misdemeanor, and, on conviction
thereof, shall, for the first offense, be punished by fine of not less than fifty, nor
more than five hundred dollars, and shall forfeit to the county the weapon or
weapons so found on his person; and for every subsequent offense may, in addition
to such fine and forfeiture, be imprisoned in the county jail for a term not more
than ninety days.’ Id. § 3.” The law did not apply, however, ‘to a person’s home
or business, and there were exemptions for “peace officers” as well as travelers;
lawmakers and jurists spent considerable time fleshing out who qualified under
these exemptions, and how to allow those fearing an imminent attack to carry these
weapons in public spaces. Also, the deadly weapon law did not apply to all guns
                                                                          (continued…)
                                          29
           Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
when white supremacists disfranchised African Americans, legalized segregation,

and took firm control of the courts and law enforcement.81

      36.    Tennessee and Arkansas went farther than Texas to stem the tide of

post-Civil War interpersonal violence. In 1871, Tennessee flatly prohibited the

carrying of pocket pistols and revolvers, openly or concealed, except for the large

army and navy pistols commonly carried by members of the military, which could

be carried openly, but not concealed.82 Arkansas followed suit in 1881.83


or firearms but just pistols. The time-place-manner restrictions, however, applied
to any “fire-arms . . . gun or pistol of any kind” and later “pistol or other firearm,”
as well as “any gun, pistol . . . .’”
       See also Brennan Gardner Rivas, “The Deadly Weapon Laws of Texas:
Regulating Guns, Knives, and Knuckles in the Lone Star State, 1836-1930 (Ph. D.
dissertation: Texas Christian University, 2019), 72-83, 124-163
(https://repository.tcu.edu/handle/116099117/26778).
      81
        Rivas, “Enforcement of Public Carry Restrictions,” 2609-2620. The study
draws on enforcement data from four Texas counties, 1870-1930: 3,256 total cases,
of which 1,885 left a record of final adjudication. See also Rivas, “Deadly Weapon
Laws of Texas,” 164-195.
82
  1871 Tenn. Pub. Acts 81, An Act to Preserve the Peace and to Prevent
Homicide, ch. 90, § 1; State v. Wilburn, 66 Tenn. 57, 61 (1872) (“It shall not be
lawful for any person to publicly carry a dirk, sword cane, Spanish stiletto, belt or
pocket pistol, or revolver, other than an army pistol, or such as are commonly
carried and used in the United States army, and in no case shall it be lawful for any
person to carry such army pistol publicly or privately about his person in any other
manner than openly in his hands.”).
      83
         1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent
Crime, chap. XCVI, § 1-2 (“That any person who shall wear or carry, in any
manner whatever, as a weapon, any dirk or bowie knife, or a sword, or a spear in a
cane, brass or metal knucks, razor, or any pistol of any kind whatever, except such
pistols as are used in the army or navy of the United States, shall be guilty of a
misdemeanor. . . . Any person, excepting such officers or persons on a journey, and
                                                                        (continued…)
                                           30
            Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
Tennessee’s law withstood a court challenge, and Arkansas’s was never

challenged.84 And both states moved to prevent the sale or transfer of pocket

pistols or ordinary revolvers. In 1879, Tennessee prohibited “any person to sell, or

offer to sell, or bring into the State for the purpose of selling, giving away, or

otherwise disposing of, belt or pocket pistols, or revolvers, or any other kind of

pistol, except army or navy pistols.”85 Arkansas passed a similar prohibition in

1881, but went even further by prohibiting the sale of pistol cartridges as well:

“Any person who shall sell, barter, or exchange, or otherwise dispose of, or in any

manner furnish to any person any dirk or bowie knife, or a sword or a spear in a

cane, brass or metal knucks, or any pistol, of any kind of whatever, except as are

used in the army or navy of the United States, and known as the navy pistol, or any

kind of cartridge for any pistol, or any person who shall keep such arms or

cartridges for sale, shall be guilty of a misdemeanor.”86




on his premises, as are mentioned in section one of this act, who shall wear or
carry any such pistol as i[s] used in the army or navy of the United States, in any
manner except uncovered, and in his hand, shall be guilty of a misdemeanor.”).
      84
          See Brennan Gardner Rivas, “The Problem with Assumptions:
Reassessing the Historical Gun Policies of Arkansas and Tennessee,” Second
Thoughts, Duke Center for Firearms Law (Jan. 20, 2022),
https://firearmslaw.duke.edu/2022/01/the-problem-with-assumptions-reassessing-
the-historical-gun-policies-of-arkansas-and-tennessee/.
      85
         1879 Tenn. Pub. Act 135-36, An Act to Prevent the Sale of Pistols, chap.
96, § 1; State v. Burgoyne, 75 Tenn. 173, 173-74 (1881).
86
   Acts of the General Assembly of Arkansas, No. 96 § 3 (1881).
                                           31
           Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
      37.    California’s legislature, recognizing that the homicide rate had
reached catastrophic levels (over 65 per 100,000 adults per year),87 banned
concealed weapons in 1863, because, as the editor of the Daily Alta Californian
declared,

     During the thirteen years that California has been a State, there have
     been more deaths occasioned by sudden assaults with weapons
     previously concealed about the person of the assailant or assailed, than
     by all other acts of violence which figure on the criminal calendar…. For
     many sessions prior to the last, ineffectual efforts were made to enact
     some statute which would effectually prohibit this practice of carrying
     concealed weapons. A radical change of public sentiment demanded it,
     but the desired law was not passed until the last Legislature, by a
     handsome majority.88

      38.    But the legislature repealed the law in 1870, as public sentiment
veered back toward the belief that the effort to make California less violent was
hopeless, and that the only protection law-abiding citizens could hope for was to
arm themselves. And the legislature once again had the enthusiastic support of the
editor of the Daily Alta Californian, which then opined, “As the sovereignty
resides in the people in America, they are to be permitted to keep firearms and




      87
         Roth, Maltz, and Eckberg, “Homicide Rates in the Old West,” 183. On
violence in California and across the Far West, see Roth, Maltz, and Eckberg,
“Homicide Rates in the Old West,” 173-195; Clare V. McKanna, Jr., Homicide,
Race, and Justice in the American West, 1880-1920 (Tucson: University of
Arizona Press, 1997); McKanna, Race and Homicide in Nineteenth-Century
California (Reno: University of Nevada Press, 2002); and John Mack Faragher,
Eternity Street: Violence and Justice in Frontier Los Angeles (New York: W. W.
Norton, 2016); and Roth, American Homicide, 354.
      88
        Clayton E. Cramer and Joseph Olson, “The Racist Origins of California’s
Concealed Weapon Permit Law,” Social Science Research Network, posted August
12, 2016, 6-7 (https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2599851).

                                          32
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other weapons and to carry them at their pleasure.”89 A number of counties
dissented, however, and made it a misdemeanor to carry a concealed weapon
without a permit—ordinances that they enforced.90 In 1917, the state made it a
misdemeanor to carry a concealed weapon in incorporated cities and required that
gun dealers register handgun sales and send the Dealer’s Record of Sale to local
law enforcement.91 And in 1923, the state extended the licensing requirement to
unincorporated areas and prohibited non-citizens from carrying concealed
weapons.92
      39.      Other states, like Ohio, tried to have it both ways. The Ohio
legislature banned the carrying of concealable weapons in 1859, citing public
safety. But it directed jurors, in the same law, to acquit persons who carried such
weapons,

     If it shall be proved to the jury, from the testimony on the trial of any
     case presented under the first section of this act, that the accused was, at
     the time of carrying any of the weapon or weapons aforesaid, engaged in
     the pursuit of any lawful business, calling, or employment, and that the
     circumstances in which he was placed at the time aforesaid were such as
     to justify a prudent man in carrying the weapon or weapons aforesaid for
     the defense of his person, property or family.93
The burden of proof remained with the person who carried the concealed weapon.


      89
        Cramer and Olson, “Racist Origins of California’s Concealed Weapon
Permit Law,” 7-10.
      90
           Ibid., 11.
      91
           Ibid., 11-13.
      92
        Ibid., 13-15. Note that the title of the Cramer and Olson essay is
misleading. It does not refer to the origins of the laws discussed here or to the
ways in which they were enforced. It refers instead to an unsuccessful effort in
1878 and a successful effort in 1923 to deny resident aliens the right to bear arms.
      93
         Joseph R. Swan, The Revised Statutes of the State of Ohio, of a General
Nature, in Force August 1, 1860 (Cincinnati: Robert Clarke & Co., 1860), 452.

                                           33
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
      40.    It is important to remember, however, that even when states enacted
different types of firearms restrictions, the fact remains that many jurisdictions
enacted statutory restrictions at that time to ensure the safety of the public and law
enforcement.
III. ADDRESSING THREATS TO THE REPUBLIC AND ITS CITIZENS FROM
     MASS MURDERERS FROM THE REVOLUTION INTO THE EARLY
     TWENTIETH CENTURY
      41.    The Republic faced threats not only from individual murderers, but
from groups of murderers. Mass murder has been a fact of life in the United States
since the mid-nineteenth century, when lethal and nonlethal violence of all kinds
became more common. But mass murder was a group activity through the
nineteenth century because of the limits of existing technologies.94 The only way
to kill a large number of people was to rally like-minded neighbors and go on a
rampage with clubs, knives, nooses, pistols, shotguns, or rifles—weapons that were
certainly lethal but did not provide individuals or small groups of people the means
to inflict mass casualties on their own. Mass killings of this type were rare in the
colonial, Revolutionary, and Early National eras, outside of massacres of Native
Americans, irregular warfare among citizens seeking political power, or public
demonstrations that turned deadly, like the Boston Massacre, in which seven
soldiers opened fire on a crowd of roughly fifty men and boys, killing five and


      94
         On the history of mob violence, including riots and popular protests that
led to mass casualties, see Paul A. Gilje, Rioting in America (Bloomington: Indiana
University Press, 1996); and David Grimsted, American Mobbing: Toward Civil
War (New York: Oxford University Press, 1996). On the Boston Massacre, see
Alan Taylor, American Revolutions: A Continental History, 1750-1804 (New York:
W. W. Norton, 2016), 109-110; Eric Hinderaker, Boston’s Massacre (Cambridge:
The Belknap Press of Harvard University Press, 2017); Bernard Bailyn, The
Ordeal of Thomas Hutchinson (Cambridge: Belknap Press of Harvard University
Press, 1974), 156-163; and Alfred F. Young, The Shoemaker and the Tea Party:
Memory and the American Revolution (Boston: Beacon Press, 1999), 36-41.

                                          34
            Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
wounding six.95 But from the 1830s into the early twentieth century, mass killings
were common.
      42.    Examples include Nat Turner’s rebellion in Southampton County,
Virginia, in 1831, which claimed sixty-nine lives; the murder of seventeen
Mormons, perpetrated by militia men and vigilantes at Haun’s Mill, Missouri in
1838; Bloody Monday in Louisville, Kentucky, where an assault by nativist
Protestants on Irish and German Catholics in 1855 left twenty-two people dead;
and the murder of nineteen Chinese Americans by a racist mob in Los Angeles in
1871. Because these mass killings were almost always spontaneous and loosely
organized, they were difficult for government to prevent. Worse, in some
incidents, such as the Haun’s Mill Massacre, state and local governments were
complicit; and in others, state and local governments turned a blind eye to the
slaughter, as was the case in the murder of Chinese farm workers in Chico,
California, in 1877.96
      95
        For examples of massacres of unarmed Native Americans, see the murder
in 1623 of six Massachusetts men by a party from Plymouth Colony, led by
Captain Miles Standish [Roth, American Homicide, 42]; and the massacre in 1782
of 96 pacifist Moravian Delaware Indians at Gnadenhutten in present-day Ohio
[Rob Harper, “Looking the Other Way: The Gnadenhutten Massacre and the
Contextual Interpretation of Violence,” William and Mary Quarterly (2007) 64:
621-644 (https://www.jstor.org/stable/25096733#metadata_info_tab_contents)].
For examples of political conflict among colonists that led to mass killings, see the
confrontation in 1655 at Severn River in Maryland between opposed factions in the
English Civil War [Aubrey C. Land, Colonial Maryland: A History (Millwood,
New York: Kato Press, 1981), 49-54] and the slaughter in 1782 of rebel prisoners
at Cloud’s Creek, South Carolina, by Tory partisans under the leadership of
William Cunningham [J. A. Chapman, History of Edgefield County (Newberry,
South Carolina: Elbert H. Aull, 1897), 31-34]; see also Fox Butterfield, All God’s
Children: The Bosket Family and the American Tradition of Violence (New York:
Vintage, 2008), 5-6.
      96
        David F. Almendinger, Jr., Nat Turner and the Rising in Southampton
County (Baltimore: Johns Hopkins Press, 2014); Patrick H. Breen, The Land Shall
                                                                   (continued…)
                                          35
            Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
      43.    The Federal government did act during Reconstruction, however, to
prevent mass murder when formally organized white supremacist organizations
engaged in systematic efforts to deprive African Americans of their civil rights,
which had been guaranteed by the Thirteenth, Fourteenth, and Fifteenth
Amendments. The Ku Klux Klan Acts of 1870 and 1871, meant to prevent
assassinations and mass shootings and lynchings by white supremacist terrorists,
were effective when enforced by the federal government and the U.S. Army.97 But
when federal troops were withdrawn, white supremacist mass killings resumed. In
New Orleans, for example, an ultimately successful effort by white-supremacist
Democrats to seize control of the city’s government by violent means left dozens
of Republican officials and police officers shot dead and scores wounded.98 And
the Klan Acts did nothing to prevent mass murders by spontaneous mobs and

Be Deluged in Blood: A New History of the Nat Turner Revolt (New York: Oxford
University Press, 2015); Stephen B. Oates, The Fires of Jubilee: Nat Turner’s
Fierce Rebellion (New York: Harper and Row, 1975); Stephen C. LeSueur, The
1838 Mormon War in Missouri (Columbia: University of Missouri Press, 1987),
162-168; Brandon G. Kinney, The Mormon War: Zion and the Missouri
Extermination Order of 1838 (Yardley, Pennsylvania: Westholme, 2011); Mary
Alice Mairose, “Nativism on the Ohio: the Know Nothings in Cincinnati and
Louisville, 1853-1855” (M.A. thesis, Ohio State University, 1993); W. Eugene
Hollon, Frontier Violence: Another Look (New York: Oxford University Press,
1974), 93-95; Faragher, Eternity Street, 463-480; and Sucheng Chan, The Bitter-
Sweet Soil: The Chinese in California Agriculture, 1860-1910 (Berkeley:
University of California Press, 1986), 372.
      97
        Alan Trelease, White Terror: The Ku Klux Klan Conspiracy and Southern
Reconstruction (New York: Harper and Row, 1975).
      98
         Dennis C. Rousey, Policing the Southern City: New Orleans, 1805-1889
(Baton Rouge: Louisiana State University Press, 1996), 151-158. See also
LeeAnna Keith, The Colfax Massacre: The Untold Story of Black Power, White
Terror, and the Death of Reconstruction (New York: Oxford University Press,
2008); and Gilles Vandal, Rethinking Southern Violence: Homicides in Post-Civil
War Louisiana, 1866-1884 (Columbus: Ohio State University Press, 2000), 67-
109.

                                          36
            Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
loosely organized vigilantes. Rioters and vigilantes remained a threat well into the
twentieth century. In 1921 more than three hundred African American citizens
were murdered in the Tulsa Race Massacre in Oklahoma.99
IV. ADDRESSING THREATS TO THE REPUBLIC AND ITS CITIZENS FROM
    MASS MURDERERS FROM THE EARLY TWENTIETH CENTURY TO THE
    PRESENT
      44.      The character of mass murder began to change in the late nineteenth
and early twentieth century with the invention and commercial availability of new
technologies that gave individuals or small groups of people the power to kill large
numbers of people in a short amount of time. These technologies proved useful to
criminal gangs, anarchists, and factions of the labor movement intent on killing
adversaries, public officials, and law enforcement officers. The technologies that
were most widely used by criminals and terrorists were dynamite, invented by
Alfred Nobel in 1866, and the Thompson submachine gun, invented in 1918 by
General John T. Thompson, who improved upon a pioneering German design.
      45.      The advantage of dynamite over nitroglycerin and other explosives
used in mining and construction was its power and its stability, which made
accidental explosions rare. The advantages of submachine guns over existing
machine guns as weapons of war were that they were light enough to be carried
and operated by a single individual, and they were capable of firing .45 caliber
bullets from 20-round clips or 50- or 100-round drum magazines at a rate of 600 to
725 rounds per minute.100

      99
        On the deadly race riots of 1919-1921, see William M. Tuttle, Jr., Race
Riot: Chicago in the Red Summer of 1919 (New York: Atheneum, 1970); Scott
Ellsworth, Death in a Promised Land: The Tulsa Race Riot of 1921 (Baton Rouge:
Louisiana State University Press, 1982); and Tim Madigan, The Burning:
Massacre, Destruction, and the Tulsa Race Riot of 1921 (New York: Thomas
Dunne Books / St. Martin’s Press, 2001).
      100
            Herta E. Pauli, Alfred Nobel: Dynamite King, Architect of Peace (New
                                                                       (continued…)
                                           37
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
      46.    Criminals and terrorists quickly discovered how accessible and useful
these new technologies were. They could be purchased legally by private citizens.
In the 1920s, Thompson submachine guns were expensive. They sold for $175 to
$225 each, at a time when a new Ford cost $440 (the rough equivalent of $2996 to
$3852 today, while now a base model of the AR-15 semiautomatic rifle can be
purchased for less than $400 and a 30-round magazine for as little as $10).101 That
is why Thompsons were favored by those with resources: law enforcement, the
Irish Republican Army, Sandinista rebels in Nicaragua, and bank robbers.
Dynamite, however, cost only 18 cents a pound (the rough equivalent of $3.08
today), so it was favored by labor activists and anarchists.102 Federal, state, and
local officials and law enforcement officers suddenly confronted novel threats to
their personal safety. Submachine guns were used most notoriously in gangland

York: L. B. Fisher, 1942); and Bill Yenne, Tommy Gun: How General Thompson’s
Submachine Gun Wrote History (New York: Thomas Dunne Books, 2009).
      101
          Yenne, Tommy Gun, 86. Estimates vary on the purchasing power of 1919
dollars in today’s dollars, but $1.00 in 1919 was worth roughly $17.12 today. See
the CPI Inflation Calculator (https://bit.ly/3CS5UNl), accessed October 4, 2022.
The prices of AR-15 style rifles today are from guns.com
(https://www.guns.com/firearms/ar-15-rifles?priceRange=%24250%20-
%20%24499), accessed October 4, 2022. The prices of 30-round magazines of
.233 caliber ammunition are from gunmagwarehouse.com
(https://gunmagwarehouse.com/all-magazines/rifles/magazines/ar-15-magazines),
accessed October 4, 2022.
      102
          Department of Commerce, Bureau of the Census, Fourteenth Census of
the United States Manufactures: Explosives (Washington, D.C.: Government
Printing Office, 1922), 6. Note that a pound of dynamite would be far more
expensive today—potentially hundreds of thousands of dollars—because it would
require the purchase of a blasting license, a storage bunker, and an isolated plot of
land for the storage bunker. See U.S Department of Justice, Bureau of Alcohol,
Tobacco, Firearms, and Explosives, Enforcement Programs and Services, ATF
Federal Explosives Law and Regulations, 2012
(https://www.atf.gov/explosives/docs/report/publication-federal-explosives-laws-
and-regulations-atf-p-54007/download), accessed October 4, 2022.

                                          38
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slayings in Chicago during the Prohibition Era, such as the St. Valentine’s Day
Massacre and the Kansas City Massacre.103 Dynamite was used in a string of
anarchist bombings in 1919-1920. Those included the murder of 38 people and the
wounding of 143 in an attack on Wall Street, 36 dynamite bombs mailed to justice
officials, newspaper editors, and businessmen (including John D. Rockefeller), and
a failed attempt to kill Attorney General A. Mitchell Palmer and his family.104
Dynamite was also used effectively for malicious, private ends. For example,
Osage Indians were murdered by an individual in Oklahoma in an attempt to gain
their headrights and profit from insurance policies on them.105
      47.    Because of the threats these new technologies posed for public safety,
public officials widened their regulatory focus beyond concealed and concealable
weapons. Thirteen states restricted the capacity of ammunition magazines for
semiautomatic and automatic firearms between 1927 and 1934,106 and Congress

        William Helmer and Arthur J. Bilek, The St. Valentine's Day Massacre:
      103

The Untold Story of the Bloodbath That Brought Down Al Capone (Nashville:
Cumberland House, 2004); and Yenne, Tommy Gun, 74-78, 91-93.
      104
           Paul Avrich, Sacco and Vanzetti: The Anarchist Background (Princeton:
Princeton University Press, 1991), 140-156, 181-195; Beverly Gage, The Day Wall
Street Exploded: A Story of American in Its First Age of Terror (New York: Oxford
University Press, 2009); David Rapoport, Waves of Global Terrorism: From 1879
to the Present (New York: Columbia University Press, 2022), 65-110. Consider
also the bombing of the office of the Los Angeles Times in 1910 by two union
activists, which killed 21 persons and injured 100 more, in Louis Adamic,
Dynamite: The Story of Class Violence in America (New York: Viking, 1931).
      105
         For this and other murders of Osage people see David Grann, Killers of
the Flower Moon: The Osage Murders and the Birth of the FBI (New York,
Doubleday, 2017).
      106
          Robert J. Spitzer, “Gun Accessories and the Second Amendment: Assault
Weapons, Magazines, and Silencers,” Law and Contemporary Problems 83 (2020):
238 (https://scholarship.law.duke.edu/lcp/vol83/iss3/13). In the same period,
five additional states restricted magazine capacity for fully automatic weapons, but
not semiautomatic weapons.

                                          39
            Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
passed the National Firearms Acts of 1934 and 1938, which restricted ownership of
machine guns and submachine guns (known today as automatic weapons) because
of their ability to fire rapidly from large-capacity magazines.107 And the Organized
Crime Control Act of 1970 restricted ownership of a wide range of explosives,
building upon regulations that began in 1917 with the passage of the Federal
Explosives Act, which restricted the distribution, storage, possession, and use of
explosive materials during the time of war.108
      48.    Since 1970, public officials have continued to reserve the right to
regulate the sale, ownership, and control of new technologies that can be used by
individuals or small groups to commit mass murder. The Homeland Security Act
of 2002 improved security at airports and in cockpits to ensure that airplanes could
not be used by terrorists to commit mass murder. The Secure Handling of
Ammonium Nitrate Act of 2007 restricted access to large quantities of fertilizer to
prevent terrorist attacks like the one that killed 165 people in Oklahoma City in
1995.109 And in the wake of the massacre of 58 people and wounding of hundreds
of others at a concert in Las Vegas in 2017, the Trump administration issued a
regulation that banned the sale or possession of bump stocks. It gave owners 90

      107
          The National Firearms Act of 1934, 48 Statute 1236
(https://homicide.northwestern.edu/docs_fk/homicide/laws/national_firearms_act_
of_1934.pdf); and the National Firearms Act of 1938, 52 Statute 1250
(https://homicide.northwestern.edu/docs_fk/homicide/laws/national_firearms_act_
of_1938.pdf).
      108
         The Organized Crime Control Act of 1970, 84 Statute 922; and the
Federal Explosives Act of 1917, 40 Statute 385.
      109
          Public Law 107-296, November 25, 2002, “To Establish the Department
of Homeland Security” (https://www.dhs.gov/xlibrary/assets/hr_5005_enr.pdf);
and 6 U.S. Code § 488a - Regulation of the sale and transfer of ammonium nitrate
(https://www.law.cornell.edu/uscode/text/6/chapter-1/subchapter-VIII/part-J). The
ammonium nitrate regulations were to be enforced no later than 90 days after
December 26, 2007. Accessed August 31, 2022.

                                          40
            Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
days to destroy their bump stocks or turn them in to the Bureau of Alcohol,
Tobacco, Firearms, and Explosives.110
     49. In recent decades, criminal organizations, terrorists, and lone gunmen

with an intent to commit mass murder have also discovered the effectiveness of

rapid-fire semiautomatic weapons with large capacity magazines. These weapons,

which were designed for offensive military applications rather than individual self-

defense, emerged from technologies developed for military use during the Cold

War, beginning with the Soviet AK-47 assault rifle, which was invented in 1947,

adopted by the Soviet Army in 1949, and used in the 1950s by the Soviets or their

allies during the Hungarian Revolution, the Vietnam War, and the Laotian Civil

War.111 The signature military firearm of that era—the M-16 rifle with a 30-round

magazine and a muzzle velocity of over 3,000 feet per second112—was capable of

firing 750 to 900 rounds per minute when set on fully automatic.113 But the M-16

was used more often in combat—and more accurately, effectively, and sustainably

as a weapon for inflicting mass casualties—when set on semiautomatic, which was

      110
           New York Times, December 18, 2018
(https://www.nytimes.com/2018/12/18/us/politics/trump-bump-stocks-ban.html),
accessed October 4, 2022.
       111
           Edward and Ezell, The AK-47 Story: Evolution of the Kalashnikov
Weapons (Harrisburg, Pennsylvania: Stackpole Books, 1986).
      112
            Muzzle velocity is the speed at which a round exits the barrel of a
firearm.
      113
         Edward Ezell, The Great Rifle Controversy: Search for the Ultimate
Infantry Weapon from World War II through Vietnam and Beyond (Harrisburg,
Pennsylvania: Stackpole Books, 1984)

                                            41
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
standard military procedure. That is why the U.S. Army defines “rapid fire” as 45

rounds per minute (the rate of fire of an M-16 when set on semiautomatic), not 750

to 900.114 And that is why in 1998 the U.S. Marine Corps adopted the M-16A4,

which replaced the “fully automatic” switch with a three-round burst (but

otherwise the same weapon as the M-16)—an alteration that slows the potential

rate of fire, conserves ammunition, and improves accuracy.115 The civilian version

of the M-16—the ArmaLite AR-15—has approximately the same muzzle velocity

as the M-16 (3,300 feet per second) and the same rate of fire as the M-16 on

semiautomatic: 45 rounds per minute.116

      50.    The muzzle velocity of semiautomatic handguns, like the Glock 17, is
far lower than that of an M-16 or its civilian counterparts: around 1,350 feet per
second. But technological advances have increased the speed at which
semiautomatic handguns can be fired. An expert can fire an entire 30-round clip
from a Glock 17 handgun in five seconds.117 And they are affordable. A new


      114
           Sections 8-17 through 8-22 (Rates of Fire), Sections 8-23 and 8-24
(Follow Through), and Sections B-16 through B22 (Soft Tissue Penetration), in TC
3-22.9 Rifle and Carbine Manual, Headquarters, Department of the Army (May
2016). Available at the Army Publishing Directorate Site
(https://armypubs.army.mil/epubs/DR_pubs/DR_a/pdf/web/ARN19927_TC_3-
22x9_C3_FINAL_WEB.pdf), accessed October 4, 2022.
      115
          See military-today.com (http://www.military-
today.com/firearms/m16.htm), accessed October 4, 2022.
      116
          Ezell, The Great Rifle Controversy, 177-192.
      117
          See Jerry Miculek, “Dual Glock 17 Rapid Fire 60 Rounds in 5 Seconds!
660 RPM.” YouTube (https://www.youtube.com/watch?v=1H5KsnoUBzs),
accessed September 1, 2022.

                                          42
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semiautomatic handgun can be purchased for less than $200 and equipped with a
33-round magazine for less than $15.118
      51. It did not take criminals, terrorists, and lone gunmen long to adopt the

rapid-fire semiautomatic handguns and rifles with large capacity magazines that

arrived on the domestic market in the 1970s and 1980s. These firearms can inflict

mass casualties in a matter of seconds and maintain parity with law enforcement in

a standoff, which is why many police and sheriff departments across the United

States have purchased semiautomatic rifles and armored vehicles to defend

themselves and decrease the likelihood that officers are killed or wounded.119

      52.    Manufacturers soon discovered ways to increase the rate of fire of

these new semiautomatic weapons even further. Some innovations, such as bump

stocks and modification kits, allowed owners to transform semiautomatic rifles into

fully automatic rifles. And in response to the Trump administration’s regulatory

ban on the production and sale of bump stocks and modification kits, the firearms

industry has developed “binary” triggers that fire when pulled and when



      118
           See guns.com for the price of semiautomatic handguns
(https://www.guns.com/firearms/handguns/semi-
auto?priceRange=Less%20than%20%24250) and bymymags.com for the price of
large capacity magazines (https://www.buymymags.com/), accessed October 4,
2022.
       119
           Sam Bieler, “Police Militarization in the USA: The State of the Field,”
Policing: An International Journal 39 (2016): 586-600, available at
https://www.emerald.com/insight/content/doi/10.1108/PIJPSM-03-2016-
0042/full/pdf?casa_token=TYUuIouUCc8AAAAA:IWXQRQOtW90KZ2AKwzHNMX2tfRix0zAxRRkj
QSy3rA-uUpnylZrnp0Xolhj7UFIf05WGZkr_92L__QGk_OAxnSH-3h26oxKC4e7vM79VCBpFl9_cHg.


                                          43
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released—a modification that doubles the rate at which semiautomatic weapons

can be fired.120

      53.    Just as dangerous, however, were modifications that helped users fire
more rapidly with semiautomatic firearms. The modifications included “fixes” as
simple as stretching a rubber band from the trigger to the trigger guard of an
AR-15—the civilian version of the M-16, which differs from the military model
only in its lack of a switch for fully automatic. The band pushes the trigger
forward more rapidly after each round and enables users to fire rapid
semiautomatic bursts with help of the weapon’s natural recoil. The rubber band
method works because manufacturers have increased the fire rate of semiautomatic
weapons by decreasing the pressure it takes to pull the trigger.121
      54.    The threat to public safety and law enforcement posed by
semiautomatic rifles—with or without dangerous modifications—is a modern
phenomenon that has a direct correlation with mass murder and mass shootings.

      120
          Bureau of Alcohol, Tobacco, Firearms, and Explosives, Office of
Enforcement Programs and Services, Office of Field Operations, “Open Letter to
All Federal Firearms Licensees,” March 22, 2022
(https://www.atf.gov/firearms/docs/open-letter/all-ffls-mar-2022-open-letter-
forced-reset-triggers-frts/download), accessed October 4, 2022. The ATF has not
banned the production, sale, or ownership of binary triggers, but the several states
have done so, citing the threat they pose to the safety of the public and law
enforcement. Those states include North Dakota, Hawaii, Connecticut, New
Jersey, Maryland, Washington, California, D.C., Iowa, New York, Rhode Island,
and Florida. (https://lundestudio.com/are-binary-triggers-legal/), accessed October
4, 2022. See also americanfirearms.org, “A Complete Guide to Binary Triggers,”
(https://www.americanfirearms.org/guide-to-binary-triggers/), accessed October 4,
2022.
      121
         See “Rapid Manual Trigger Manipulation (Rubber Band Assisted),”
YouTube (https://www.youtube.com/watch?v=PVfwFP_RwTQ), accessed October
4, 2022.

                                          44
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The danger these firearms pose is intrinsically different from past weaponry. In
the same way that the Colt cap-and-ball revolvers and breech-loaded firearms
resulted in increased deaths by firearms, the development of semiautomatic rifles
and handguns dramatically increased the number killed or wounded in mass
shootings from 1966 to the present (see Figure 1, below).
                                       Figure 1

                  Mass shootings   Mass shootings Mass shootings    Mass
                     with non-         with           with       shootings
                semiautomatic/non- semiautomatic semiautomatic      with
                 automatic firearm   handgun           rifle     automatic
                                                                  firearms
   Average               5.4                   6.5              9.2            8.1
    Killed
  Average                3.9                   5.8             11.0            8.1
  Wounded
   Average               9.3                12.3               20.2            16.2
   Victims
 Number of               52                    82               40              8
   Mass
 Shootings
Note that mass shootings with semiautomatic rifles have been as deadly as mass
shootings with fully automatic weapons.

      55.       And the threat posed by semiautomatic rifles is amplified when
they are used in conjunction with extended magazines (more than 10 rounds) (see
figure 2, below).
                                       Figure 2

                               No extended magazine           Extended magazine
 Mass shootings                          10.3                         26.4
 with semiautomatic
 handgun
 Mass shootings with                     13.0                         37.1

                                          45
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 semiautomatic rifle


          56.    Without extended magazines, semiautomatic rifles cause an average

of 40 percent more deaths and injuries in mass shootings than regular firearms, and

26 percent more than semiautomatic handguns. But with extended magazines,

semiautomatic rifles cause an average of 299 percent more deaths and injuries than

regular firearms, and 41 percent more than semiautomatic handguns. And

extended magazines are two-and-a-half times more likely to be used in mass

shootings with semiautomatic rifles than with semiautomatic handguns: in 30

percent versus 12 percent of incidents. Semiautomatic rifles and extended

magazines are deadly on their own. But in combination, they are extraordinarily

lethal.

          57.    The data in Figures 1 and 2, and in the immediately above paragraph,

are from the Violence Project.122 The Violence Project, which has compiled data


          The Violence Project (https://www.theviolenceproject.org/mass-shooter-
          122
database/), accessed October 4, 2022. The Violence Project database provides
information on the weapons used in the shootings. It notes, for instance, that two
shooters who possessed semiautomatic rifles at the times of their crimes did not
use them, and that 8 shooters had illegal, fully automatic weapons. Those
automatic weapons included 2 Uzi submachine guns, 3 machine pistols, 1 M-16,
and 2 AK-47 rifles converted to automatic. I have not participated in Violence
Project or in the collection of their data. In Figure 1, however, I have added the
data from the six mass shootings that occurred from January through August, 2022,
not yet included in the Violence Project’s data, that fit the Violence Project’s
definition of a mass shooting: the Buffalo, New York, supermarket shooting on
May 14; the Robb Elementary School shooting in Uvalde, Texas, on May 24; the
Tulsa, Oklahoma medical center shooting on June 1; the concrete company
shooting in Smithsburg, Maryland, on June 9; the Highland Park, Illinois, Fourth
of July Parade shooting; and the Greenwood, Indiana, Park Mall shooting on July
17. Three were committed with semiautomatic rifles and three with semiautomatic
                                                                        (continued…)
                                              46
                Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
on mass shootings from 1966 through 2021, defines a mass shooting as “a multiple

homicide incident in which four or more victims are murdered with firearms—not

including the offender(s)—within one event, and at least some of the murders

occurred in a public location or locations in close geographical proximity (e.g., a

workplace, school, restaurant, or other public settings), and the murders are not

attributable to any other underlying criminal activity or commonplace

circumstance (armed robbery, criminal competition, insurance fraud, argument, or

romantic triangle).” Other authorities have adopted similar definitions of “mass

shootings” and “mass murder.” For example, the FBI has defined mass murder as

“a number of murders (four or more) occurring during the same incident, with no

distinctive time period between the murderers.”123 Federal legislation enacted in

2013 authorized the Attorney General to assist in the investigation of mass killings,

defined to mean “3 or more killings in a single incident.”124

       58.    What is remarkable about the mass shootings that have plagued the

United States since 1965 is that all but four involved a lone shooter, and those that

have involved more than one assailant have involved only two: in 1998 in



handguns. The table in this declaration, unlike the tables in the Violence Project,
does not include the Las Vegas shooting of 2017 (58 killed, 887 wounded). The
Las Vegas shooting is an outlier in the number killed and wounded which would
skew the results of the analysis
      123
          FBI, Serial Murder: Multi-Disciplinary Perspectives for Investigators at 8
(2005) (https://www.fbi.gov/stats-services/publications/serial-murder#two), accessed January 3,
2023.
      124
          28 U.S.C. § 530C(b)(1)(M).
                                              47
             Declaration of Randolph Roth (NAGR v. Lamont, 3:22-cv-01118-JBA)
Jonesboro, Kentucky; in 1999 in Littleton, Colorado; in 2015 in San Bernardino,

California; and in 2019 in Jersey City, New Jersey. In the nineteenth and early

twentieth centuries, it required scores of individuals to gather together as mobs,

rioters, vigilantes, or terrorists to kill or wound dozens of people in a short space of

time—generally because of their race, ethnicity, or faith.

      59.    Today, thanks especially to extended magazines and certain classes of

semiautomatic firearms, it requires only one or two individuals to kill or wound

that many people. And because of these modern technologies, which were

developed for warfare, angry, alienated individuals can commit mass murder for

reasons that are simply personal. Mass murderers no longer require collaborators to

rally to a cause. For example, they can kill large numbers of people simply

because they feel slighted at school, because they don’t get along with their

coworkers, because they were rejected romantically, or because they simply want

to make a name for themselves. And since it is impossible in our society—indeed,

in any society—to ensure that no one is angry or alienated, restricting access to

extended magazines and certain classes of semiautomatic firearms mitigates the

risk to every American.

      60.    For these reasons, local governments have enacted bans on the sale of

semiautomatic rifles with features that enhance their military utility, as the federal

government did from 1994 to 2004. And local governments have banned the sale


                                           48
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of large capacity magazines, because they allow mass murderers to prolong their

attacks before citizens or law enforcement can intervene—usually when the

shooter is reloading. For example, the shooter who wounded U.S. House

Representative Gabby Giffords in Tucson, Arizona, in 2011 was able to fire 31

rounds with a Glock 19 semiautomatic handgun in a matter of seconds before

bystanders could disarm him as he changed magazines. Every one of those rounds

hit an individual, killing six and injuring twelve.125


V.   CONCLUSION

      61.    From the Founding Generation to the present, the people of the United

States and their elected representatives have recognized that there are instances in

which the security of the republic and the safety of its citizens require government-

imposed restrictions. That is why the majority of states passed and enforced laws

against the carrying of concealable weapons, why the federal government passed

the Ku Klux Klan Acts during Reconstruction, and why states, municipalities, and

the federal government have passed and enforced laws since World War I to

restrict ownership or control of modern technologies that enable criminals,

terrorists, and malicious or delusional individuals to commit mass murder. Public



      125
          “2011 Tucson Shooting,” Wikipedia
(https://en.wikipedia.org/wiki/2011_Tucson_shooting), accessed September 2,
2022.

                                           49
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